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            In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           No. 17-005V
                                     Filed: February 1, 2019
                           Refiled in Redacted Form: June 21, 2019
                                         UNPUBLISHED


    D.G.,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Tetanus
    SECRETARY OF HEALTH AND                                  Diphtheria acellular Pertussis (Tdap)
    HUMAN SERVICES,                                          Vaccine; Shoulder Injury Related to
                                                             Vaccine Administration (SIRVA)
                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On January 3, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a Shoulder Injury Related to
Vaccine Administration (“SIRVA”) as a consequence of the Tetanus-diphtheria-acellular
pertussis (“Tdap”) vaccination she received on or about August 11, 2015. Petition at 1;
Stipulation, filed January 23, 2019, at ¶ 4. Petitioner further alleges that she suffered
the residual effects of this injury for more than six months. Petition at 8; Stipulation at ¶
4. “Respondent denies that the Tdap vaccine caused petitioner's alleged SIRVA or any
other injury and further denies that her current disabilities are a sequela of a vaccine-
related injury.” Stipulation at ¶ 6.


1
 When this decision was originally filed the undersigned advised her intent to post it on the United States
Court of Federal Claims' website, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501
note (2012) (Federal Management and Promotion of Electronic Government Services). In accordance
with Vaccine Rule 18(b), petitioner filed a timely motion to redact certain information. This decision is
being reissued with petitioner’s name redacted to the initials. Except for those changes and this footnote,
no other substantive changes have been made. This decision will be posted on the court’s website with
no further opportunity to move for redaction.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on January 23, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

            a) A lump sum of $75,000.00 in the form of a check payable to
               petitioner. Stipulation at ¶ 8. This amount represents compensation for
               all items of damages that would be available under § 15(a); and

            b) A lump sum of $2,334.91, representing reimbursement of the State of
               Iowa Medicaid lien, in the form of a check payable jointly to petitioner
               and:

                                          Iowa Lien Recovery Unit
                                              P.O. Box 36446
                                            Des Moines, IA 50315

        Petitioner agrees to endorse the check to the Iowa Lien Recovery Unit. Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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